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Exhibit 2 to Exhibit A

[Wrong Debtor and Modify Priority Claims]
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Ljo Laseg

“Aysorsd (6)(q)¢0¢ 105 Ayrenb

JOU Op WPTYM ‘spood-UoU JayY4O 10 S9dTAIAS IOJ ST UTED dy} “UITETD JO Joord ayy YIM payly UOTEyUSWNIOp JO/pue spi0vaz puke syoo ,s10}qQaq 0} SUTPIOIIe “‘yeyy syopJor AyoLId
PeIPoY, ‘sp10daz pue syxoog ,S10}qaq ayy 0} Surpr0d9e payrasse Aqradoad st wep ayy YSTYM ysuTege (s)10}Gaq ayy SPaTJor 10}qQaq] PalyIpoW, ‘NOLLVIHIGOW WOdA NOSVAY

T6°S68°69$

ZE"669°97$

8L°7L9'07$

TS'ECS‘T2$

Te103qng

pemossuy,

poamoessuy

psImossulr

JT] Aueduo>
yuawageuryy 3A0ry YEO
JT] Aueduoy

suru] yueULON]

aT] Auedwop
uoyelaues JueUTUN}]

T6'S68°69$ Teqo1qns
‘diop
Z6°89¢ 08S pamaasun, ssuIp[oy ainynq AZiaug
‘dioD
66'97S'67$ (6)(q)e0¢ sSurpfoH amyng Adiaugq

STST-ZO8SZ XL “ANLLSATVd
8st XOd Od

69b¢ ONIGUVTINGA €

SL'OLL‘9$

pamnzasup

DTT Auedwo>
yuauaseurypy aAolty YeO

‘snqeys Aqisorid (p)(e)Z0¢ 103 a, qrST[aur arojJazay} pue ayep uoNTad jo sXep OST UNIIM pauses sagem Jo yuNAIIE UO
OU ST UWITe]D “UITeTD Jo Jooid ay} YIM pally WoEeyUaLINIOp JO/pue sp1odaI puL syxooq ,s10}qaq 0} SuTps090" “(F)(¥)Z0¢ § "D'S". LL Jepun payiasse Ayrotd YSnoy} ‘yeyy sparjar Aytiord
PaIPoY ‘sprodax pure syxood ,s10}qaq ay} 0} Surpx090e payrasse Apiadoid st wirepd ayy YONM Jsurese (s)10}qaq] BUI SPI]JaI 10}qaq] PaTJIPOW -NOLLVDIAIGOW WOA NOSVAU

SL'0LL'9$ Ayo PeHessy 101q9q ON

62994 XL ‘GNOWAa4a
$L XO Od

LOe’e SYANVATID WOLLOD = 7Z

“Apsorsd (6)(q)e0s 103 AgrTenb

JOU Op PTY ‘spoo8-wou Jay}O IO SadTAIas JOJ ST UTE] BY} “WIE[D Jo yood ayy YIM pally UOYPyUaUINDOp 10/puK sp10daI pu syxoog ,s10}qaq__ 0} SuTprODoe “yeyy sya] Jaa AyroLd
PeLIPOW] “SpiodaI pue syoog ,s10}qaq_ ay} 0} Surpr0d9e payasse ATiadoid st wrepD au} yoryM ysuTese (s)10}qaq] ayy S}apJaI 10}qaq] PeFIPOW ‘NOLLVOLIGOW wOA NOSVAN

6L-6bZL'02$ Te}0}qns 6T 6PL'0L$ Te10}qNS
DTI Aueduio>
£0 TZ'LE$ pampasup) Sup yueuron]
DTI AueduioD “dio
9G°SLL‘E$ (6) (q)eos jyuomlaseuryy 9AOIS) To 95°968’91$ peimMossuy) ssuIp[oH ony] ABI9uq TLEZSZ XL SATAL
T] Aueduo> “drop Z£S8 XO ‘O'd
09°7SL67$ (6)(a)e0s Suny] yweunumy | ¢9'z¢9’es$ (6)(a)e0s ssurppoy amyny Adrauy ¥67S ‘DNI ‘SAOIAMAS 14V_i.
INNOWV SO.LV.LS woLaaa INNOWV SOLV.LS WO.LaIa #WIVID aqIAVN
WIV1D ALIMOMd WIV1D ALIMONd
Gaig1GdOW da Laassv

sure] Aysorsy Ajpoyy pur 10}qaq Bu01M - V LIGTHXA OL Z LISIHXS ‘(@QALLNV.LSSNS) SOSININO CUIELL-A.LNAML

Te “TAOD SONIGTIOHN FUN.LAA ADWANA
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Ljozaseg

‘payrasse Ayorid ayy ueyy ayyzer ‘Aysorsd (6)(q)¢0¢ 03 Papua st wep ay] ‘sp10da1 pur syxooq ,s10}qaq puke UOeyUaUINJOp SuTOddns s,jueUTTED 0} SurpIODdE “eY} SPapzar Aporsd
P2LTPo| ‘sprosaq pur s>00q ,S10}qaqq] ayy 0} SuTp10I9e payzasse Apiadoad st wre ayy YOTY Jsurese (s)10}qQaq] BY} SPdTJa1 10}qQ|aq PIFIPOW -NOLLVOIIGOW WOA NOSVAU

$9 TL881$ Teqoiqns
a7] Auedwoy
00°0F6'TIS$ peinsasup, woyelsuas JueUTUNy]
Auedwoy
99°9L¥'S$ painzasuy) SadTAI3G aye10dI0D HAA
JT] Auedwo
86°6SETS (6)(a)eos woyeiauasy yueuNONy]
Aueduo>
00°S6$ (6){a)eos sadlalag ayerodi0D WT

b9'TLE'STS Te103qng
Auedwoy
99°91 LI pamseasuy-) SIILAIVG ayer0d10D HAT
Auedwo
86°ESE'TS Ayorg sadtaras ayesodi0 HAT

829

19009 TI ‘STHH NONWAA
SAV FeINVMTIA “N 002
NOSXORITA
ATTANO® ‘NLLV

Md) &

‘paysasse Aytrorid ayy 10g siseq OU SI a19Y} ‘Sp1OdaI pue syoog ,sIojqaq pue UOTeyUsUINIOp BurTyoddns s,juewrEpD 0} Burpsoose “yey} spaTyor Ayorsd
PalFpoy ‘Sp10daI pue sxoog ,810}q9q ay} 0} BuTp10d9e papyosse Apiadord st wep ayy YTYM ysuTEse (s)10jqGaq]_Jyy $}a[Ja1 10}qQaq PalJIPOW -NOLLVOLIGOW WOA NOSVAY

b8'SZ6'ShS Te103qng
OFSSZ XL ‘ATALINIVA
D117 AueduioD 58 AMH SN MZIS
ZEPLO HS painzasuy) Sura] yueurany] SddVD AWIVA ‘NLLV
OTT Auedwo “dio WALNAD
ZS 1S8'FS pamdasuy) woyesauasy yueurMNyT | $9°S76'8h$ Ayiong ssurppoy amyny Adiauq 16S DV 2VAIIVMGUVH SddVD 7
INQOWV SNLLV.LS woLaaa INNOWV SN.LVLS YWOLIAG #WIVID AVN
WIVID ALIMONd WIVID ALMIOMNd
Galidow GaLwassv

sunrer) Aqrorsg Ayrpoy] pue 10}qaq] Sum - V LIGTHXH OL Z LISTHXd *(GALLNV.LS&NS) SOGINWO GYIH.L-ALNIML

‘TPP “dUOD SONICGION AWN.LAA ADYANA
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Log aseg

‘Arorad (6)(q)e0s 105 Agrenb
JOU Op WIYM ‘spooS-woU I9YyIO 10 SaITAIaS IOF SI WELD ay} “wTE]D Jo Joord ayy YILM payly VoLeyWaUINIOp J0/puK sp1odaI puke sxood ,S10}qeCq] 0} BuTprO Ie “yey syapzex Aytorsd
PITJIPO|] “spsoIaI pue syoo ,$10}qaqq ay] 0} SuTps0sIe pajsasse Ayradoad st wrepds ayy yTyM ysurede (s)10}qaq JY SPaTJos 10349] PITFIPOW ‘NOLLVOITIGOW WOA NOSViAa

9@7SL XL ‘SVTIVa

IS YOTAV.L 6062

DT] AuedwioD daLi

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-payrasse Ayrorid ay} 103 SIseq OU ST a1aY} ‘Sp10daI pue syoog ,s10}qaq] pue UOYeyaUNdop SuyIoddns s,jueUTTE[D 0} SuTprODIe “ey SPaTJar Ayrsord
PaTJIpoy ‘Spx0Ia1 pue syxoog ,s10}qaq] ayy 0} SuTproy." payasse AT1adord st wep ayy YT jsuTEse (s)10}qGaq] By} SPaTJA1 10}qQaq] PatFIPOW] ‘NOLLVOMIGOW WOd NOSVAU

89092
XL ‘STIAM TVUANIN,

OPST XO Od

DTT Auedwo5 DNI SUHOLVNIAIIE

00°009'F$ pampasuy) worerauay yueurMNT | 00°009'FS Ayaorrg payassy 10}qaq ON SOLE NOISOWIOD

‘snyeys Aysorad (6)(q)e0s 105 aTqESt[aut are YNZ 10j swe ‘ayep uoyyed ayy azoyoq sAep OZ WeYyY aIOUT I0}qaq ayy Aq paatarar o1aM Jey] Spo syaTJar Ayorsd
PaTTPoY ‘sps0daq pue syx00q ,8101qgaQ] BY} OF SuTPIODe payasse Apiadoad sx wreys ay} YITYM JsuTede (s)s0}qQaq] BY} SP2]Ja7 OWQaCy PalsIPOW -NOLLVILIGOW WOd NOSVAU

06°F8Z'F9T$ Tew01qns 06° P8L'P9TS$ Teq03qns
a TI
00°7S6E$ pamoasun Aueduto> Jamog Mopues
DTI Aueduroy
€8°6ES’99$ pemsssup, yuawaseueyl 2a0I*5) FLO
D711 Auedwoy
ZS°T08’SZ$ pamoasun woyeiaua’) JUeUTON]
DTI AueduroD ‘dioD £6952 XL “VO 2LIHM
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DTI Aueduoy “dio ‘DNI
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INNOWV SN.LV.LS woOLaaia INNOWV SN.LV.LS wo.Laia #WIVID aWVN
WIV1D ALIMOId WIV1O ALIMOMd
CaiaIdoWw CHLYaSSV

surrey) Aysorsg Aprpoy] pue 10}qaq Suoim - V LIATHXd OL Z LIGTHXd :(ALLNV.LS&Ns) SNEINWO CYIH.L-ALNAML

Te? “TUOD SDNICTOH FUN.LNA ADWANA
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Lyopaseg

‘payrasse Ayaorid ay} 103 stseq ou St a1ayy ‘sp10daz pur syxoog ,s10}qac] pue uOWeyUaWMNIOp SuToddns s,jueuTe[D 0} Surpr0dIe “yey syapJar Ayrsor1d
P2TPOY| “sp10Ia1 pure syxooq ,103q4aq] ayy 0} ZuTp10d9e payasse A[radord sy wyETD ay YOTYM ysuTese (s)10}qa] B47 S}aTJa7 1019aC] PPLFIPOW -NOLLVOLIGOW YOd NOSVAA

suite, Aysorrg AFIpoy] pue 10}qaq| SuorM - V LIGMIHXA OL 7 LIMIHXd *(ALLNV.LSSNS) SOSINWO GUIE.L-A.LNAML

Te? “dUOD SONIGIOH FAN.LNA ADYANA

€F092 XL “ASO NATD
TI? XOd Od
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£6'6SE°CS Pemossuyy woTerauas) yuRUTUINT] | £6°6Se'7$ Ayo  payassy s1oyqaq a[dyny T6rE OLNV 4SOUNAID TE
‘snqeys Aytiorad (p)(2)Z0¢ 10F aTQIBt[aur aroza19yy pue ayep uOTed jo sAep OYT UTYJIM paurea sadeM Jo JUTE UO
JOU ST UTE] “UTTeTD Jo Joord ay} YILM papy UoYe}UaUINDOp JO/pue spr0IaI pur SyxOog ,S10}qGaqq 0} Burps099¢ “(f)(2)Z0¢ § ‘D'S'N LL Japun payrsse Apsorsd ySnoy} yey} sparjas Aor
P2TFIPOP ‘Sprodaz pure sx00q ,s10}qaq] ayy 0} BuTp10I9" payresse Apradord st wTepD ayy YY JsuTeSe (5)10}qQaq] YY SPaTJer 10}gaq] PetsIpo] ‘NOLLVOIGIGOW wor NOSVAY
S9LEZ VA ‘ONVOL
AVMAYVd
TP TST hes qTe}oqns HONVYD VI LO9E
LL HLIWS SIDId -N.LLV
aI Auedwoz | 1¥'9Z9‘1T$ peamnsssupy, = paylassy s10j}qaq edu ‘INI “LLNI dnOwD
Le ist hes PsmMoasuy) yuauadeury] 24015) ALO | OO'SLHTLS Ayaong  peyassy s1ojqaq aydyin £92 SHDIAWHS ADUANA OT
“Aysorad (6)(q)¢0¢ 103 Aprpenb
Jou op YIM ‘spooS-uoU 1340 JO SadTAIAS 10J ST WELD ayy “WreTD Jo Joosd ayy YIM pally UOYRyWaUINIOp J0/pue spr0deq pure syoog ,s10}GQaq] 0} SuTpso0doe “Feyy spayar Ayord
PIIIPOYL ‘spr0daI pure soo ,810}qaq ayy 0} Burpr0d9e payrasse Apradoad st wrepd ay} YOY JsuTese (s)10}q aC] OY} SPITJaI 10}q4a] PalPOW -NOLLWOIGIGOW WOs NOSVAU
LE0LS'0b7$ Te10}quS LEOLS‘0FZS$ Te}03qns
OTI $6012 GW ‘WOINOWLL
LEDEO'ES Ppemoosul) AuedwoD [A woyeruas) 9eTS XO *O'd
Auedu0) ‘d105 (SW) SADIAUTS
00°SFS‘ZFT$ poermsssur) sadtalag ayerod10D HAA | LECS’SPLS paimmsasuy) ssuploy amyng ABiauq INFALSVNVA
Aueduro7 ‘dio ATaVAIOIY O/*)
00°€00‘06$ (6)(a)e0s sadTArag ayer0ds0> HAT | 00'9bL‘P6$ (6)(@)<os ssurploy amyny Adrauy LOLE NOILVYOduOD DWA 6
INNONWV SOLV.LS wOLda INNOWV SOIVIS YOLWA # WIVID HIAVN
WIV'1D ALTWONId WIV'ID ALMOMd
CGHaitIdOW Ga LWASSV
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L9'76C'9RS

00°S09°T$

65°S960T$

80°ZZLEES

Lyog aseg

“WIep pampas ou sey JweMTE]D yey] aaxde sI0}qaq ‘snyeys Aysorsd (f)(e)Z0¢ 105 aTqISTaUT a0Ja19yy pue ayep WoRVed Jo sAep OST UTYILM paures sadem Jo yUNODE UO
jou SI WEDD ‘UITETD Jo Joord ay} WLM perl WOReyUaUINDOP 10/pue sp10daz pure syxoog ,s10}qaqq 0} Burpaosoe “(F)(e)Z0¢ § “D'S TL Japun payrasse Ayrord ySnoy} ‘yeuy syopgar Ayword
PAIFIPOY ‘Spr0daI pue syx0oq ,$10}qa(] BY} 0} BuTpIoyIe payresse ATJedoid st wre] ayy YINYM JsuTese (s)10Igaq] ayy SaTJar 109Q9q] PITFIPOY ‘(NOLLVOLIIGOW AOA NOSVA

Te10qng

pampasuy)

poemossuy)

poamsasuy)

OTI

Auedutop 13aMog Mopuesg
DT] Auedwo>
yuauaSeueyy 3a015 FeO
371 Aueduwoy

Sur] yueuron{

L9°C67'9P$ Teo1qns
L9'LIS‘EE$ pamnsesup)
00°0$ pamoas
00°SZP‘ZT$ AWLOIIY

PaHassy 10199q ON
pelassy 10149(] ON
payiassy 10}q9q ON

TOTE-PST8Z XL ‘ZLWAHOS
‘Id TVIDWAWWOD Fe
SHOIAWHS TVOINHOWL
WnNNOVW vad
STOWLNOD

2? DNRWAINIDSNA

6211 WhNDVW  &T

“snyeys Aysorsd 0} asti aAT3 Jou Saop Jey} xe} SaTes 0} Payeyar st adrey xe} ‘snyeys Aytrorad (g)(e)Z0¢ 10J a[qrStpaut exoJa19y} pure yun [eyWaurussA03 & Jou
SI JURUTE|D “WETS Jo Joord ayy YILM pally VOLYEWaWNDOp 10/puK sp10daI pue syoog ,s10}qaq 0} BuTpsoo9e “(g)(e)Z0S § “DSN LL sepun payasse Aysorsd YSnoy} ‘yeyy syapjar AyoLd
PaeIPo| “spro0daI pure syxo0q ,S10}q2q ayy 0} SUIPIOI9e payasse Apiadoard st wreTD ayy YOrYM ysuTeSe (s)x0]qQaq] BY} SPa[Jal 101Q9Qq Papo -NOLLVOIAIGOW YOA NOSVAY

90'TES‘6e$ Te103qng 90 TES’6E$ Te}03qnS
Aueduto-)
£9°9CP'S$ pempdeasuy) SddTAIag ayerodsio7 HAT
DT] Auedwop Auedwop
6E°ST6'6$ pammdasuy) woyeiausyy yeunMDy] | 9/°9/7'5$ Ayo Sad, lag ayerodio0D HAT 9£90-€£092 XL “ANSNAATO
DTI Auedwo5 AueduoD 9£9 XO Od
L9°ST9‘6Z$ (6)(a)e0s woes) yueUTUNT | £9°SL9‘6z$ (6)(q)e0s SadTAIIS aye10dI0D HAT SZTS OO TIO LUAHNVI ZL
INQOWV SOLV.LS WOLGIG INNOWV SO.LV.LS woOLaAd # WIVID HAWN
WIV1D ALMOTd WIV1ID ALMMOMd
GalidoWw Ga Laassv

sumrey) Ayrorrg Ayrpoy] pue 10}qaq Bu0im - VY LISIHXd OL Z LIGTHXd :(AALLNV.LSANS) SNGINWO CYIHLL-ALNIML

‘Te? “dUOD SONIC IOH AUN.LNA ADAANA
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£jogaseg

‘Ayrzorad (6)(q)E0s 103 Agrpenb

jou op yorYy ‘spoo8-wou rayjO 10 sadTArasS JOJ SE WITETD ayy “UTEP? Jo Joord ayy YWM paply UOT}eyUsUINDOp 10/pue spsOdaI pue sxoo ,S10}qaC] 0} BuTprOIIe “ey spalger Apsord

PeTIPO|L “Sp10da1 pure sy00g ,s10}qaq ay] 0} Surpi0s9e pajyias

se Ajiadoid st utrep> ayy YOTYM jsurese (s)10}qaC] ayy SPaTJo1 10}Ge(] PatsIPOW ‘NOLLVOIZIGOW WOd NOSVAA

surre[ Aysorg Ajrpoy pur 10}qaq] Bur - V LIGTHXd OL Z LISIHXd ‘(QALLNV.LSANS) SOSININO CUIH.L-ALNAML

‘Te “TUOD SONIGTIOH 4YN.LINA ADWANA

T009S NW ‘OLYINVAL
ITI AuedutoD ‘d105 HAIG WHOW OTL

00°0S7‘L$ pamnasup) yusutsseueP] A401 ALO | 00'0SZ'L$ (6)(a)eos sdurppoy einyng Adroug goSé DNI’SINALSAS LVWNHNd _9T
“sngeys Aytzorad (¢)(q)E0S 10F a[qESITaUT are YTYM JOJ suuTeTD ‘ayep UOTHad ayy arozaq Shep OZ UeYY arour 103qaq] ay} Aq paatadad a1aM Jey] Spoos spoyjor Ayrsorid
PalIpoy] “spIOdax pure sr{00q ,S10}qaq] ay} 0} SuTPIOIIe paytasse ATIadoad st wep ayy YOTYM ysurese (s)10}qaC] ayy SPaTzar 10}Gaq] PALFIPOW ‘NOLLVOLIIGOW WOr NOSVAN
9TPSS NW ‘SIIOdVANNIA
008 “3.LS ‘QIVATINOD
VIVZAVM 00SS
OT1 AueduroD Auedwo> ‘ONI SIOWLNOD

00'SEZ’s$ Pempsesuf) uoTPIsUas) JURUTNY] | O0'SEL’SS (6)(q)e0¢ sadTAlag ayerodi0D HAT SSP 79 SHATVA UIVINAd ST
-snqeys Aprorrd (6)(q) 0S 103 aTQUSr1[aUL are YT JOJ SUTTeP ‘ayep Woryed ayy azojzaq sAep OZ Ue] alOUr 10}qaq ay} Aq paatazar a1aMm yey} spoo’s sparjer Aord
Papo! ‘Sp103a1 pur syxoog ,s10}qaq] ay} 0} Surpr0d.e payzasse Apradoid st ulreyd ayy YOM JsuTese (s)I0}qQ9q] 9Yy SPo]JaI 10}qaq] PalJIPOW -NOLLVIIAIGOW WOI NOSVAN

00°Z0T'F9$ yeyojqns

DTI AuedutoD TETSL
00'ZS9’8E$ Poermdesuy) woper1sUat) JUCUTUIN] XL ‘STHANNVUd MAN
DTI AuedutoD "di05 EsSLle XO" ‘O'd

oo'oss‘szs (6)(a)e0s wuoyesauay Jueurumy] | 00'L0L'F9S (6)(4)e0s ssurp[oH amyny AB19uq 67SE SMOTIAG ADGRAVO FL

INNOWYV SNIV.LS WOLAa INNONWV SM.LV.LS WOLda # WIVTO HAVN
WIVTD ALIMONId WIvTD ALINIONd
ayaiIdqoWw Ga LWAssv
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Lyo Laseg

TO'TL0°988$ TV.LOL

TO'TL0‘988$ TVLOL

‘snyeqs Aytrorad (p)(2)Z0¢ 103 a[qrBT[aUI a10Jaay} pur ayep wWorTad Jo sAep OST UNGIIM pauses sadem Jo yUNODIE UO

JOU SI WHIeP “wWrETD Jo Joord ayy YILM party UoYEyaUINDOp JO/pue spIOI—aI pur syxO0q ,S10}qaqq 0} Surpszosse ‘(F)(e)Z0S § “DSN TL sepun payasse Aor ySnouyy ‘yeyy syaryer Ayoud
PaLJTpoy ‘spio0dax1 pure syoog ,s10}qaq By] 0} SuTpx029e payrasse ATIadoid st wre) ay} YDTYM ysuTese (s)10}qGaq] 9] SaTJaI 10}qQaq] PaYIPOW ‘NOLLVOMIGOW wor NOSVAU

PUP6L'TS$ Te}907qns
JTI
00°0zE’6$ pemsasup Aueduro> Jamog Mopurs
JT] Auedwoy
PUELEY TES pammpdasup yuawaseuepy 3A01s) FeO

TOZLZ XL ‘LNOWNVagd

LHaRLLS TMVd OSL

*di05 ‘DNI

PLP6L'LSS Ayorrg sSurppoyy emyny Adraugq 8186 NOILVNOLNV CUVHOIM

8L

‘Aytrond aalyeysrurumpe 0} payyqyua aq jou plnom yy ‘uoyyed-s1d 10}qaq ay} Aq peatazas 310M yey} spoos syarjar Ayrord
PelIpoy ‘Sp105e1 pure syx00q ,s10}qaq] ayy 0} BuTpsoov payasse A[Jadoard st wrep ayy yTYM JsurTese (s)10}qaQq BU} SPaTJas 10}Qaq]_ PatJIPoW] ‘¢NOLLVOMIGOW WOs NOSVAY

LEPSS
NW ‘NOLONINAOOTS
00ZL TLINS “ua
WALNAD NVAMON 0008
HHOSMIN HddsSOl -NLLV
DTI AuedwoD Aueduro; ‘DNI SAIDOIONHOAL
Oz 187$ pampsesuy, uorerauar) yueuTMny | OZ 1SZ$ sayeystunopy SadTAlag aye10di0D HAT t YOLVINDAU ZT
INQOWV SN.LVLS WOLGIa INNOWV SOLVLS WO.LGAG #WIVID qAVN
WIvV1ID ALMONId WIV1D ALMIOMd
GalgIdoWw Ga Laassv

sure, Ayiorsg Aprpoyy pue 103qeq Suoim - V LIGTHXA OL Z Lid THXd *(ALLNV.LSANS) SN4INWO CGUIH.L-ALNIML

Te? “dUOD SONICIOH FUN.LNA ADYANA
